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    EXHIBIT 59
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                                                                                                     Meta Cookies Policy


                                                                          OO Meta


                                                                          Cookies Policy
                                                                          Explore the policy

                                                                          What are cookies, and what does this policy cover?           v


                                                                          Why do we use cookies?                                       v


                                                                          Where do we use cookies?                                     v


                                                                          Do other Companies use cookies in connection with the Meta   v
                                                                          Products?

                                                                          How can you control your Information?                        v




                                                                          Other policies

                                                                          Terms of Service

                                                                          Cookies Policy



                                                                          What are cookies, and what does this policy
                                                                          cover?
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                                                                                                   Meta Cookies Policy

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                                                                        ourVv~bsite and. a,pps,prvisitother weosites andappsmatusethe .MetaPro,duds < >
                                                                        (includingth.e Likebutto~). Co9kie,s enable Meta to offerthe.Metaprod'.ucts to you
                                                                        and tounderstana the information that we receive about you,including information·
                                                                        about your use of other websites and apps, whether or not youare registered.or
                                                                        logged in.

                                                                        This policy explains how we use cookies and the choices you have. Except as oth-
                                                                        erwise stated in this policy, the Privacy Policy will apply to our processing of the data
                                                                        that we collect via cookies .


                                                                        Why do we use cookies?
                                                                        Cookies help us provide, protect and fmprove the Meta Products, suchas by per-
                                                                        sonalising content: tailoring andrr,easuring ads,and providing a safer experience . .
                                                                        The cookies that we use include sessiQn-c;ookies; which are deleted when you dose
                                                                        your browser, and persis.tent cookies,~hich stay in your browser until they expire or
                                                                        you delete them. The ~ookieswe use'and how we use them[ 1l may changeo~er, •.....·
                                                                        time as we improve arid update :Meta.Products, we typically use them for the follovi-
                                                                        ing purposes:


                                                                          Authentication
                                                                          We use cookies to verify your account and determine when you're logged in so
                                                                          that we can make it easier for you to access the Meta Products and show you
                                                                          the appropriate experience and features.

                                                                          • For example: We use cookies to keep you logged in as you navigate be-
                                                                            tween Facebook Pages. Cookies also help us remember your browser so
                                                                            you don't have to keep logging in to Facebook and so you can more easily
                                                                            log in to Facebook via third-party apps and websites. For example, we use
                                                                            the "c_user" and "xs" cookies, including for this purpose, which have a life-
                                                                            span of 365 days.




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                                                                                                   Meta Cookies Policy

                                                                         Security, site and product integrity
                                                                         We use cookies to help us keep your account, data and the Meta Products safe
                                                                         and secure .

                                                                         • For example: Cookies can help us identify and impose additional security
                                                                           measures when someone may be attempting to access a Facebook account
                                                                           without authorisation, for instance, by rapidly guessing different passwords.
                                                                           We also use cookies to store information that allows us to recover your ac-
                                                                           count in the event that you forget your password or to require additional au-
                                                                           thentication if you tell us that your account has been hacked . This includes,
                                                                           for example, our "sb" and "dbln" cookies, which enable us to identify your
                                                                           browser securely, as well as "datr." "Datr" is a unique identifier for your
                                                                           browser that, amongst other things, helps us protect you from fraud. For ex-
                                                                           ample, it helps us identify trusted browsers where you have logged in before.
                                                                           "Datr" has a lifespan of two years .

                                                                         We also use cookies to combat activity that violates our policies or otherwise
                                                                         degrades our ability to provide the Meta Products.

                                                                         • For example: Cookies help us fight spam and phishing attacks by enabling
                                                                           us to identify computers that are used to create large numbers of fake
                                                                           Facebook accounts. We also use cookies to detect computers infected with
                                                                           malware and to take steps to prevent them from causing further harm. Our
                                                                           "csrf" cookie, for example, helps us prevent cross-site request forgery at-
                                                                           tacks . The "datr" cookie also helps us to identify the browsers used by mali-
                                                                           cious actors and to prevent cyber-security attacks, such as a denial of ser-
                                                                           vice attack that could prevent you from accessing the Meta Products.
                                                                           Cookies also help us prevent underage people from registering for Facebook
                                                                           accounts.




                                                                         Advertising, recommendations, insights and measurement
                                                                         We use cookies to help us show ads and to make recomm endations for busi-
                                                                         nesses and other organisations to people who may be interested in the prod-
                                                                         ucts, services or causes they promote.

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                                                                                                    Meta Cookies Policy

                                                                          • For example: Cookies allow us to help deliver ads to people who have previ-
                                                                            ously visited a business's website, purchased its products or used its apps
                                                                            and to recommend products and services based on that activity. Cookies
                                                                            also allow us to limit the number of times that you see an ad so you don't
                                                                            see the same ad over and over again. For example, the "fr" cookie is used to
                                                                            deliver, measure and improve the relevancy of ads, with a lifespan of 90
                                                                            days.

                                                                          We also use cookies to help measure the performance of ad campaigns for
                                                                          businesses that use the Meta Products.

                                                                          • For example: We use cookies to count the number of times that an ad is
                                                                            shown and to calculate the cost of those ads. We also use cookies to mea-
                                                                            sure how often people do things, such as make a purchase following an ad
                                                                            impression. For example, the "_fbp" cookie identifies browsers for the pur-
                                                                            poses of providing advertising and site analytics services and has a lifespan
                                                                            of 90 days.

                                                                          Cookies help us serve and measure ads across different browsers and devices
                                                                          used by the same person.

                                                                          • For example: We can use cookies to prevent you from seeing the same ad
                                                                            over and over again across the different devices that you use.

                                                                          Cookies also allow us to provide insights about the people who use the Meta
                                                                          Products, as well as the people who interact with the ads, websites and apps of
                                                                          our advertisers and the businesses that use the Meta Products.

                                                                          • For example: We use cookies to help businesses understand the kinds of
                                                                            people who like their Facebook Page or use their apps so that they can pro-
                                                                            vide more relevant content and develop features that are likely to be interest-
                                                                            ing to their customers .

                                                                          We also use cookies, such as our "oo" cookie, which has a lifespan of five
                                                                          years, to help you opt out of seeing ads from Meta based on your activity on
                                                                          th ird-party websites. Learn more about the information we receive, how we de-



https://mbasic. facebook.com/privacy/policies/cookies/printable/                                                                                                          4/17


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                                                                                                    Meta Cookies Policy

                                                                          cide which ads to show you on and off the Meta Products and the controls that
                                                                          are available to you.




                                                                          Site features and services
                                                                          We use cookies to enable the functionality that helps us provide the Meta
                                                                          Products.

                                                                          • For example: Cookies help us store preferences, know when you've seen or
                                                                            interacted with Meta Products' content and provide you with customised con-
                                                                            tent and experiences. For instance, cookies allow us to make suggestions to
                                                                            you and others, and to customise content on third-party sites that integrate
                                                                            our social plugins. If you are a Facebook Page administrator, cookies allow
                                                                            you to switch between posting from your personal Facebook account and the
                                                                            Facebook Page. We use cookies such as the session-based "presence"
                                                                            cookie to support your use of Messenger chat windows .

                                                                          We also use cookies to help provide you with content relevant to your locale.

                                                                          • For example: We store information in a cookie that is placed on your browser
                                                                            or device so that you will see the site in your preferred language.




                                                                          Performance
                                                                          We use cookies to provide you with the best experience possible.

                                                                          • For example: Cookies help us route traffic between servers and understand
                                                                            how quickly Meta Products load for different people. Cookies also help us
                                                                            record the ratio and dimensions of your screen and windows and know
                                                                            whether you've enabled high-contrast mode, so that we can render our sites
                                                                            and apps correctly. For example, we set the "dpr" and "wd" cookies, each
                                                                            with a lifespan of 7 days, for purposes including to deliver an optimal experi -
                                                                            ence for your device's screen.



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                                                                         Analytics and research
                                                                         We use cookies to better understand how people use the Meta Products so
                                                                         that we can improve them.

                                                                         • For example: Cookies can help us understand how people use the Facebook
                                                                           service, analyse which parts of our Products people find most useful and en-
                                                                           gaging, and identify features that could be improved .




                                                                         Third-party websites and apps
                                                                         Our business partners may also choose to share information with Meta from
                                                                         cookies set in their own websites' domains, whether or not you have a
                                                                         Facebook account or are logged in. Specifically, cookies named _fbc or _fbp
                                                                         may be set on the domain of the business partner whose site you're visiting.
                                                                         Unlike cookies that are set on Meta's own domains, these cookies aren't acces-
                                                                         sible by Meta when you're on a site other than the one on which they were set,
                                                                         including when you are on one of our domains. They serve the same purposes
                                                                         as cookies set in Meta's own domain, which are to personalise content (includ-
                                                                         ing ads), measure ads, produce analytics and provide a safer experience, as
                                                                         set out in this Cookies Policy.




                                                                         We've listed below cookies we commonly use and the common purposes for
                                                                         whi_
                                                                            ch we uset,hes~:




https://mbasic.facebook.com/privacy/policies/cookies/printable/                                                                                                        6/17


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                                                                                    These cookies help us to identify your h r r \l A/ C~Cll"   2 years
                                                                                    securely.



                                                                            datr    This is a unique identifier for your browser that,          2 years
                                                                                    among other things, helps us protect you from
                                                                                    fraud. This cookie also helps us to identify
                                                                                    browsers used by malicious actors and to
                                                                                    cyber::security atta_cks.




                                                                                    Depending on your choices, this cookie is     to
                                                                                    deliver, measure and improve the relevancy of
                                                                                    ads.



                                                                            _fbp;   These cookies identify browsers for businesses              Session
                                                                            _fbc    usfng our Meta Products for th~ pwpos~s qf pro-,
                                                                                    viding advertising and site analytics c 01"" 11 r•ac




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                                                                           dpr; wd      These cookies help deliver an optimal experience       7 days
                                                                                        for your device's screen.




                                                                         Where do we use cookies?




                                                                                          apps provided    other f'f"lrnn~~n,i,c::
                                                                                              that incorporate Meta tar•nnnln,n,c,c:,
                                                                                 r"nrnnc,nit::>C:,                                        websites and
                                                                          apps: Meta uses cookies and receives information when you visit those sites and
                                                                          apps, including device information and information about your activity, without any
                                                                          further action from you. This occurs whether or not you have a Facebook account
                                                                          or are logged in.


                                                                         Do other Companies use cookie,s in connection
                                                                         withthe Meta Products?




https://mbasic. facebook.com/privacy/policies/cookies/printable/                                                                                                             8/17


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                                                                     Certainfeatbtes(on.the Meta·Products us.e cookies frQrrrdthercQn1pahiestd•func-


                                                                     the companies that use cookies on the Meta Products.                          •

                                                                     Third party companies also use cookies on their own sites and apps in connection
                                                                     with the Meta Products. To understand how other companies use cookies, please
                                                                     review their policies.


                                                                       2


                                                                       Listof Companies




                                                                           Ada                       ada.support




                                                                           Adobe                     mktoresp .com




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                                                                         Chili Piper        chilipiper.com



                                                                         Clara bridge       engagor.com




                                                                                            google-analytics.com



                                                                         Google             google.com



                                                                                            googleadservices.com •




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                                                                         Google             gstatic.com



                                                                         Google             youtube-nocookie.com




                                                                                            hivestreaming.corn



                                                                         Jio                jio.com



                                                                         Linkedin           adsymptotic.C6m




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                                                                         Mapbox             mapbox.com



                                                                         Maxar              digitalglobe.com




                                                                         Microsoft          office .net



                                                                                            virtual earth.net




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                                                                                           paypal.con,



                                                                        Pinferest          pinterest.com



                                                                                           plaid.com




                                                                                           reddit.Com



                                                                        Reddit             redditstatic.com



                                                                        Salesforce         herokuapp.com ·




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                                                                        Twitter            ads-twitter.com



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                                                                          V Rich App                    vrich619.com




                                                                          Vidyard                       vidyard .com




                                                                                                        zendesk.com




                                                                       How can you control your Information?
                                                                       We use cookies to help personalise and improve content and services, provide a
                                                                       saferexperience and fo sho_w you useful and relevant ads on ar'id off Meta Produ~ts.
                                                                       You can control how we use data to show you ads. and more by using the tools de-
                                                                       scribed below.


                                                                         If you have a Facebook account

                                                                         • You can use your ad preferences to learn why you're seeing a particular ad
                                                                           and control how we use information that we collect to show you ads.

https://mbasic. facebook .com/privacy/po licies/cookies/printable/                                                                                                        15/17


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                                                                        • To show you better ads, we use data that advertisers and other partners pro-
                                                                          vide us about your activity off Meta Company Products, including websites
                                                                          and apps. You can control whether we use this data to show you ads in your
                                                                          ad settings.

                                                                        • The Meta Audience Network is a way for advertisers to show you ads in
                                                                          apps and websites off the Meta Company Products. One of the ways that
                                                                          Audience Network shows relevant ads is by using your ad preferences to de-
                                                                          termine which ads you may be interested in seeing. You can control this in
                                                                          your ad settings.

                                                                        • You can review your Off-Facebook activity, which is a summary of activity
                                                                          that businesses and organisations share with us about your interactions with
                                                                          them, such as visiting their apps or websites. They use our business tools ,
                                                                          such as Meta Pixel, to share this information with us. This helps us do things
                                                                          like give you a more personalised experience on Meta Products. Learn more
                                                                          about off-Facebook activity, how we use it and how you can manage it.



                                                                        Everyone
                                                                        You can opt out of seeing online interest-based ads from Meta and other partic-
                                                                        ipating companies through the Digital Advertising Alliance in the US , the Digital
                                                                        Advertising Alliance of Canada in Canada or the European Interactive Digital
                                                                        Advertising Alliance in Europe or through your mobile device settings, where
                                                                        available, using Android, iOS 13 or an earlier version of iOS . Please note that
                                                                        ad blockers and tools that restrict our cookie use may interfere with these
                                                                        controls.




                                                                        More information about online advertising
                                                                        The advertising companies we work with generally use cookies and similar
                                                                        technologies as part of their services. To learn more about how advertisers
                                                                        generally use cookies and the choices they offer, you can review the following
                                                                        resources:


https://mbasic. facebook .com/privacy/policies/cookies/printable/                                                                                                        16/17


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                                                                         • Digital Advertising Alliance

                                                                         • Digital Advertising Alliance of Canada

                                                                         • European Interactive Digital Advertising Alliance




                                                                         Browser cookie controls
                                                                         In addition, your browser or device may offer settings that allow you to choose
                                                                         whether browser cookies are set and to delete them. These controls vary by
                                                                         browser, and manufacturers may change both the settings they make available
                                                                         and how they work at any time. As of 23 June 2021, you may find additional in-
                                                                         formation about the controls offered by popular browsers at the links below.
                                                                         Certain parts of the Meta Products may not work properly if you have disabled
                                                                         browser cookie use. Please be aware that these controls are distinct from the
                                                                         controls that we offer you.

                                                                         • Google Chrome

                                                                         • Internet Explorer

                                                                         • Firefox

                                                                         • Safari

                                                                         • Safari Mobile

                                                                         • Opera




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